       Case 5:06-cr-40151-JAR          Document 170         Filed 11/29/07     Page 1 of 4




kaw

                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
vs.                                       )                  Case No. 06-40151-JAR
                                          )
F. JEFFREY MILLER,                        )
STEPHEN W. VANATTA,                       )
HALLIE IRVIN, AND                         )
SANDRA JO HARRIS,                         )
                                          )
                        Defendants.       )
__________________________________________)

                               MEMORANDUM AND ORDER

        The Court now considers defendant Stephen W. Vanatta’s Renewed Motion for Pretrial

Release (Doc. 164). For the reasons set forth below, defendant’s motion is denied.

Procedural History

        The facts are recited in the Court’s March 12, 2007 Order Overruling Vanatta’s

Objection to Order of Detention (Doc. 96). The Court incorporates that order herein and relies

upon it by reference in ruling on the instant motion. Vanatta was arrested along with three other

co-defendants for acts resulting from alleged mortgage fraud. He was charged with conspiracy,

bank fraud, engaging in monetary transactions in property derived from the unlawful activity of

bank fraud, and destruction of records in a federal investigation. In his initial appearance,

Vanatta was released on certain conditions pending trial. One condition was that he not engage

in criminal activity.

        Subsequently, on December 27, 2006, Vanatta was indicted on charges of witness

harassment. Magistrate Judge Sebelius revoked Vanatta’s pretrial release and ordered him
        Case 5:06-cr-40151-JAR               Document 170            Filed 11/29/07         Page 2 of 4




detained. Vanatta appealed and this Court found that there was probable cause to believe that

Vanatta harassed a witness, and that he submitted false information to the Kansas Real Estate

Commission and the Missouri Real Estate Commission. Vanatta appealed the decision to the

Tenth Circuit Court of Appeals and was denied relief. To date, Vanatta has been in custody for

over ten months.

Discussion

        “[A]t some point due process may require a release from pretrial detention or, at a

minimum, a fresh proceeding at which more is required of the government than is mandated by

[18 U.S.C.] section 3142.”1 “Prolonged pretrial detention may become excessive and

consequently punitive so as to violate the person’s right to due process afforded by the Fifth

Amendment.”2 When determining whether a defendant’s detention implicates due process, a

court should consider “(1) the length of detention; (2) the extent of the prosecution’s

responsibility for the delay of trial; and (3) the strength of the evidence upon which the detention

was based.”3

        While the Court should consider the length of detention in its determination, “[l]ength of

a detention alone will rarely offend due process,”4 even though that fact weighs in defendant’s

favor.5 Vannata argues that his detention for over ten months thus far and continuing detention

        1
          United States v. Cos, 198 Fed. App’x 727, 732 (10th Cir. 2006) (quoting United States v. Accetturo, 783
F.2d 382, 388 (3d Cir. 1986)).

        2
         United States v. Shareef, 907 F. Supp. 1481, 1484 (D. Kan. 1995) (citing United States v. Theron, 782
F.2d 1510, 1516 (10th Cir. 1986)).
        3
         Cos, 198 Fed. App’x at 732 (citing United States v. Millan, 4 F.3d 1038, 1043–1047 (2d Cir. 1993)).
        4
         Shareef, 907 F. Supp. at 1484 (citing Millan, 4 F.3d at 1044).
        5
         Millan, 4 F.3d at 1044.

                                                         2
           Case 5:06-cr-40151-JAR              Document 170           Filed 11/29/07         Page 3 of 4




until trial, estimated between four and eight months, could subject him to detention for eighteen

months. That length of detention, however, is not dispositive. Indeed, some courts have upheld

pretrial detentions that double Vanatta’s estimated eighteen months.6

           On the second prong, Vanatta presents no argument that delay has been caused by the

government, perhaps in light of the fact that a substantial amount of time has been spent in

discovery and in the filing of motions. The government asserts that the length of Vanatta’s

detention is a result of the many motions filed by Vanatta and his co-defendants. The

government notes, and this Court agrees, that Vanatta and his co-defendants have caused many

of the delays in this case. Indeed, as of October 17, 2007, there are eighteen motions pending

before the Court, most of which Vanatta has joined. Additionally, defendants, including

Vanatta, have not reviewed all the discovery documents the government has provided, claiming

that it was a financial burden to obtain discovery. These are factors over which the government

has no control and weigh in favor of continued detention.

           When considering the strength of the evidence on which detention was based, the court

must apply the factors delineated in 18 U.S.C. § 3142(g).7 Those factors are: (1) the nature and

circumstances of the offense charged, including whether the offense is a crime of violence or

involves a narcotic drug; (2) the weight of the evidence against the person; (3) the history and

characteristics of the person; and (4) the nature and seriousness of the danger to any person or

the community that would be posed by the person’s release.8 For the same reasons mentioned in


           6
            See United States v. Melendez-Carrion, 820 F.2d 56, 60-61 (2d Cir. 1987) (thirty-two month projection
upheld).
           7
            Shareef, 907 F. Supp. at 1485.
           8
            18 U.S.C. § 3142(g).

                                                          3
       Case 5:06-cr-40151-JAR          Document 170        Filed 11/29/07     Page 4 of 4




the March 12, 2007 Order, this Court concludes that the strength of the evidence on which

Vanatta’s detention is based is persuasive. And accordingly, his continued detention does not

violate the Due Process Clause, as he and the other defendants are primarily responsible for his

prolonged detention. In addition, as Vanatta has not offered this Court any new evidence, but

instead has rehashed his prior assertions, the Court finds that no condition or combination of

conditions will ensure the safety of the community.

       IT IS THEREFORE ORDERED BY THE COURT THAT defendant Stephen W.

Vanatta’s Renewed Motion for Pretrial Release (Doc. 164) is DENIED.

       IT IS SO ORDERED.

       Dated this 29th      day of November 2007.




                                                       S/ Julie A. Robinson
                                                      Julie A. Robinson
                                                      United States District Judge




                                                4
